UNITED STATES DISTRICT COURT                                            MAGISTRATE JUDGE'S MINUTES
DISTRICT OF ARIZONA - Phoenix

DATE: 1/11/2021             CASE NUMBER: 21-5000MJ

USA vs.      Jacob Anthony Chansley

U.S. MAGISTRATE JUDGE: DEBORAH M. FINE

Assistant U.S. Attorney: Kristen Brooks                         INTERPRETER            N/A
                                                                LANGUAGE            N/A
Attorney for Defendant: AFPD Gerald Williams (for proceedings held in the District of Arizona only)
DEFENDANT:             PRESENT    NOT PRESENT  CUSTODY via audio-teleconference
Date of Arrest: 1/8/2021

 Initial Appearance in Rule 5 Proceedings held
 Defendant sworn as to Financial Status
 Appointment of Counsel Hearing held
 Defendant states his true name to be Jacob Anthony Angeli Chansley. Further proceedings ordered in
defendant=s true name.

 DETENTION HEARING:                                   IDENTITY HEARING:

 Set for:
 Before:
              1/15/2021 at 2:30 pm
              Magistrate Judge Deborah M Fine in
                                                         Waived.
              Courtroom 304.                             The Court finds identity has been established.

                                                      PRELIMINARY HEARING:
      Defendant temporarily detained pending
                                                       Reserved for the prosecuting district.
       further proceedings in this district.

The   Court     finds    that   the   Defendant   consents   to   proceed     with   this   hearing    by

audio-teleconference after consultation with counsel. The case is ordered unsealed upon

motion of the government.             As required by Rule 5(f), the United States is ordered to

produce all information required by Brady v. Maryland and its progeny.               Not doing so in a

timely manner may result in sanctions, including exclusion of evidence, adverse jury

instructions, dismissal of charges, and contempt proceedings.           Defense counsel is to contact

United States Marshals regarding defendant=s dietary concerns.
                                                     Recorded by Courtsmart
                                                     BY: Michelle Sanders
                                                     Deputy Clerk
IA: 11 min
ID: 1 min.
1:24 pm to 1:36 pm
